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 1    DANIEL G. BOGDEN
      United States Attorney
 2    AMBER M. CRAIG
      Assistant United States Attorney
 3    333 Las Vegas Blvd. South, Suite 5000
      Las Vegas, Nevada 89101
 4    PHONE: (702) 388-6336
      FAX: (702) 388-6698
 5
                                      UNITED STATES DISTRICT COURT
 6                                         DISTRICT OF NEVADA
                                                  -oOo-
 7
      UNITED STATES OF AMERICA,
 8                                                                2:14-cr-103-GMN-VCF
                               Plaintiff,
 9                                                               STIPULATION TO CONTINUE
                   vs.                                           GOVERNMENT’S DEADLINE TO
10                                                               RESPOND TO MOTION FOR RELIEF
      HECTOR FERNANDO ZAMBRANO-                                  FROM PREJUDICIAL JOINDER
11    REYES,                                                     (Seventh Request)
12                             Defendant.
13           IT IS HEREBY STIPULATED AND AGREED, by and between Daniel G. Bogden, United
14
      States Attorney, and Amber M. Craig, Assistant United States Attorney, counsel for the United
15    States of America, and Osvaldo Fumo, Esq., counsel for Defendant Hector Zambrano-Reyes, that
16    the Government’s deadline to respond to the Defendant’s Motion for Relief from Prejudicial Joinder,
17    currently set for July 22, 2015, be vacated and continued for thirty days, or to a date to be set at the
18
      Court’s convenience.
19
             This stipulation is entered into for the following reasons:
20
             1. The parties are engaged in plea negotiations which may resolve the case without the need
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      to litigate the motion, and additional time is needed for the negotiations.
22
             2. Defendant is in custody and does not object to the continuance.
23
             3. For the reasons stated above, the ends of justice would best be served by a continuance of
24
      the response deadline.


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 1               4. Additionally, denial of this request for continuance could result in a miscarriage of
 2    justice.
 3               5. The additional time requested by this Stipulation is excludable in computing the time
 4    within which the trial herein must commence pursuant to the Speedy Trial Act, Title 18, United
 5    States Code, Sections 3161(h)(3)(A) and (h)(7)(A), considering the factors under Title 18, United
 6    States Code, Sections 3161(h)(7)(B)(i) and (h)(7)(B)(iv).
 7               6. This is the seventh request for a continuance filed herein.
 8               DATED this 22nd day of July, 2015.
 9                                                              DANIEL G. BOGDEN
                                                                United States Attorney
10
       /s/ Osvaldo Fumo                                          /s/ Amber M. Craig_______
11    OSVALDO FUMO, ESQ.                                        AMBER M. CRAIG
      Counsel for Defendant Zambrano-Reyes                      Assistant United States Attorney
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 1
                                        UNITED STATES DISTRICT COURT
 2                                           DISTRICT OF NEVADA
                                                    -oOo-
 3
      UNITED STATES OF AMERICA,
 4
                                 Plaintiff,                        2:14-cr-103-GMN-VCF
 5
                      vs.                                          FINDINGS OF FACT, CONCLUSIONS
 6                                                                 OF LAW, AND ORDER
      HECTOR FERNANDO ZAMBRANO-
 7    REYES,
 8                              Defendant.
                                                FINDINGS OF FACT
 9
                 Based upon the pending Stipulation of counsel, and good cause appearing therefore, the
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      Court finds that:
11
                 1. The parties are engaged in plea negotiations which may resolve the case without the need
12
      to litigate the motion, and additional time is needed for the negotiations.
13
                 2. The Defendant is in custody and does not object to the continuance.
14
                 3. For the reasons stated above, the ends of justice would best be served by a continuance of
15
      the response deadline.
16
                 4. Additionally, denial of this request for continuance could result in a miscarriage of
17
      justice.
18
                 5. The additional time requested by this Stipulation is excludable in computing the time
19
      within which the trial herein must commence pursuant to the Speedy Trial Act, Title 18,
20
      United States Code, Sections 3161(h)(3)(A) and (h)(7)(A), considering the factors under Title 18,
21
      United States Code, Sections 3161(h)(7)(B)(i) and (h)(7)(B)(iv).
22
                                              CONCLUSIONS OF LAW
23
                 The ends of justice served by granting said continuance outweigh the best interest of the
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 1    public and the Defendant in a speedy trial, since the failure to grant said continuance would be likely
 2    to result in a miscarriage of justice, would deny the parties herein sufficient time and the opportunity
 3    within which to be able to effectively and thoroughly prepare for trial, taking into account the
 4    exercise of due diligence.
 5           The continuance sought herein is excludable under the Speedy Trial Act, Title 18, United
 6    States Code, Sections 3161(h)(1)(A), (h)(7)(A), (h)(7)(B)(i), and (h)(7)(B)(iv).
 7                                                   ORDER
 8           IT IS THEREFORE ORDERED that the Government’s deadline to file its response to
 9    Defendant’s Motion for Relief from Prejudicial Joinder, currently scheduled for July 22, 2015, be
10    vacated and continued to the 24th day of August, 2015.
11           DATED this 22nd day of July, 2015.
12

13                                                           ________________________________
                                                             HONORABLE CAM FERENBACH
14                                                           UNITED STATES MAGISTRATE JUDGE
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